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                        EXHIBIT 2
 Case: 1:19-cv-01610 Document #: 276-3 Filed: 11/16/21 Page 2 of 2 PageID #:5338


From:                   Robert A. Braun
To:                     Bierig, Jack R.; Wahl, Suzanne L.
Subject:                [EXT] Realtors: NAR Document Request Follow-Up
Date:                   Thursday, September 16, 2021 3:17:12 PM
Attachments:            mg_info.txt


Jack and Suzanne,
Please produce all documents (including agreements) responsive to RFP No. 33 or confirm that all
such documents have been produced.

Please also produce the “2005 scenario project,” also sometime referred to as the “the Little
Report.”

Thanks you,
Robby

Robert A. Braun                          Cohen Milstein Sellers & Toll PLLC
Partner                                  1100 New York Ave. NW | Fifth Floor
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